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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JANE DOE,
                                                             Index No. 18 Civ. 11414
                        Plaintiff,

         -against-                                           COMPLAINT
                                                             AND JURY DEMAND
 THE CITY OF NEW YORK; NEW YORK
 CITY POLICE DEPARTMENT (“NYPD”)
 OFFICER KATHERINE PAEZ; NYPD
 OFFICER “JOHN” SWIFT (SHIELD # 10566)
 NYPD OFFICER “JOHN” CASTILLO; NYPD
 OFFICER “JOHN” STALIKAS; NYPD
 SERGEANT “JOHN” COCA; AND NYPD
 OFFICERS JOHN DOES #1-10,

                        Defendants.



               Plaintiff Jane Doe, by and through her attorneys, Emery Celli Brinckerhoff &

Abady LLP, for her Complaint alleges as follows:

                                PRELIMINARY STATEMENT

               1.      On February 7, 2018, employees of the New York City Police Department

(“NYPD”) arrested Plaintiff Jane Doe when she was 40 weeks pregnant. Ms. Doe was arrested

for a misdemeanor related to a September 2017 family dispute with her ex-partner. There was no

urgent need to arrest Plaintiff that day by any stretch of the imagination. For the next thirty

hours—before, during, and after her labor and delivery of her baby daughter at Montefiore

Medical Center in the early morning of February 8th—the NYPD shackled Jane Doe using a

combination of metal handcuffs at her wrists and metal cuffs at her ankles.

               2.      “Shackling” is the barbaric practice of using restraints on a pregnant

woman in custody during her transportation, labor, delivery, or recovery. Medical and
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correctional experts are unanimous that shackling pregnant women is a dangerous, unnecessary,

and humiliating procedure. It is a serious threat to the health of the mother and child.

               3.      Shackling pregnant women is also unlawful. Between 2009 and 2015,

New York State banned the use of any restraints on pregnant women absent the most

extraordinary of circumstances.

               4.      In this case, over the course of a thirty-hour period, the NYPD transported

Ms. Doe – in restraints and visibly 40 weeks pregnant – all over the Bronx: from Bronx Family

Court to the 47th Precinct; from the precinct to the hospital after Ms. Doe experienced Braxton-

Hicks contractions; from the hospital back to the precinct; from the precinct to Central Booking;

from Central Booking back to the precinct; and from the precinct back to the hospital.

               5.      In the early morning hours of February 8, 2018, Ms. Doe went into labor

in her cell and was taken from the police station to Montefiore Medical Center. At the hospital,

the NYPD shackled her at the wrists and ankles. Against the vehement protests of medical staff,

the NYPD refused to remove the shackles, compelling Ms. Doe to labor in excruciating pain and

forcing doctors to examine Ms. Doe with her feet and hands bound. Ms. Doe was physically

exhausted after a day and night in police custody. She struggled with her labor. Moments before

Ms. Doe delivered her daughter, a growing chorus of outraged doctors convinced the NYPD to

briefly remove her shackles. At 6:14 a.m., Jane Doe gave birth to her daughter. Shortly after she

gave birth, NYPD officers again shackled her, ignoring the doctors’ continued pleas. Ms. Doe

struggled to feed her new baby with one arm.

               6.      At many points before, during, and after her labor and delivery, Ms. Doe’s

doctors told the NYPD officers that their use of restraints posed a serious risk to Ms. Doe’s and

her baby’s health, even appealing to an NYPD supervisor. Ms. Doe and her doctors asked the



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NYPD take off the shackles. The NYPD’s response? Shackling is the NYPD’s “policy.” The

shackles stayed on until Ms. Doe was arraigned in her hospital bed, hours after giving birth.

               7.      While she was in the NYPD’s custody, Ms. Doe never struggled, resisted,

or acted in any way that would even remotely support the use of restraints. Ms. Doe was terrified

for herself and for her baby. She feared that she would deliver the baby alone in a cell at the 47th

Precinct without medical help. She feared that after she gave birth, the NYPD would take her

baby away. She desperately wanted her partner and her own doctor to be present for the birth, at

her chosen hospital, consistent with her birth plan. But she remained compliant, urging herself to

stay calm for the safety of her baby. These events are seared in Ms. Doe’s memory; she

experiences nightmares and relives the trauma over and over.

               8.      This is a civil rights case about the egregious failure of the NYPD to

protect the health, safety, and dignity of a woman at one of the most important and vulnerable

moments in her life. Many NYPD personnel—officers and supervisors—encountered Ms. Doe

that day and night. Every single one of them participated in, approved of, or failed to prevent the

unconstitutional, illegal, and cruel shackling of Ms. Doe—even as she began to labor, gave birth,

and care for her new baby with one arm handcuffed to her hospital bed.

               9.      Ms. Doe seeks damages pursuant to 42 U.S.C. § 1983 for Defendants’

violations of her rights under the United States Constitution and under New York law. She also

seeks changes to the NYPD’s policies to ensure that the NYPD will never shackle a pregnant

woman in its custody again. Shackling is a dehumanizing, cruel, and pointless practice that has

no place in New York City in 2018.

                                         THE PARTIES

               10.     Plaintiff Jane Doe is a citizen of the United States and at all relevant times



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was a resident of the Bronx, New York.

               11.     Defendant City of New York (“City”) is a municipality organized and

existing under the laws of the State of New York. At all relevant times, the City, acting through

the New York City Police Department (“NYPD”), was responsible for the policy, practice,

supervision, implementation, and conduct of all NYPD matters, including the appointment,

training, supervision, and conduct of all NYPD personnel. In addition, at all relevant times, the

City was responsible for enforcing the rules of the NYPD and ensuring that NYPD personnel

obey the laws of the United States and the State of New York.

               12.     Defendants Katherine Paez, “John” Swift, “John” Castillo, “John”

Stalikas, “John” Coca, and John Does #1-10 (collectively, “Defendant Officers” or “Officers”),

at all times relevant to this Complaint, were police officers employed by the City. In this role,

Defendant Officers were duly appointed and acting officers, servants, employees and/or agents

of the City of New York. At all relevant times, they were acting in the scope of their employment

and under color of state law.

                                 JURISDICTION AND VENUE

               13.     This action arises under the Fourth and Fourteenth Amendment to the

United States Constitution, 42 U.S.C. §§ 1983 and 1988, and New York state law.

               14.     The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331,

1343(a)(3) and (4), and 1367(a).

               15.     The acts complained of occurred in the Southern District of New York,

and venue is lodged in this Court pursuant to 28 U.S.C. § 1391(b).

                                        JURY DEMAND

               16.     Plaintiff demands trial by jury.



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                                  FACTUAL ALLEGATIONS

A.       New York State Ends the Abhorrent Practice of Shackling Pregnant Women

               17.     Medical experts, correctional experts, and maternal and fetal health

experts unanimously agree that pregnant women should not be shackled absent the most

extraordinary circumstances. Such extraordinary circumstances are limited to situations where a

woman poses a risk of injury to herself or others that cannot be addressed by less restrictive

means.

               18.     Shackling poses a substantial risk of harm to a pregnant woman’s health,

and to the health and safety of the baby, at any stage of pregnancy.

               19.     The American Medical Association, the Federal Bureau of Prisons, the

U.S. Marshals Service, the American Correctional Association, the American College of

Obstetricians and Gynecologists, and the American Public Health Association all oppose

shackling pregnant women during labor, delivery and postpartum recovery.

               20.     The American Medical Association issued a policy against shackling in

2010. The AMA found that shackling increased the potential for harm to the woman and baby,

that “freedom from physical restraints is especially critical during labor, delivery, and

postpartum recovery,” and that “restraints on a pregnant woman can interfere with the medical

staff’s ability to appropriately assist in childbirth or to conduct sudden emergency procedures.”1

               21.     The American College of Obstetricians opined in 2011 that the use of

restraints on pregnant women compromises health care, is demeaning, and is rarely necessary.2



1
 AM. MED. ASS’N, AN “ACT TO PROHIBIT THE SHACKLING OF PREGNANT PRISONERS” MODEL STATE LEGISLATION 1
(2010).
2
 AM. COLL. OF OBSTETRICIANS AND GYNECOLOGISTS, HEALTH CARE FOR PREGNANT AND POSTPARTUM
INCARCERATED WOMEN AND ADOLESCENT FEMALES 3 (2011).


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                    22.      Shackles interfere with healthcare providers’ ability to conduct necessary

tests to ensure the safe and healthy progression of a pregnancy.3

                    23.      Shackling can exacerbate a pregnant woman’s already-compromised

balance while she is standing or walking, increasing the risk of falls that can injure not only the

mother, but also the fetus.4

                    24.      The use of shackles on a pregnant woman in labor can inhibit successful

cervical dilation, unnecessarily prolonging her labor.5

                    25.      Women often need to move around during labor, delivery, and recovery to

manage pain and avoid complications, including moving their legs as part of the birthing process.

Shackling limits a woman’s ability to shift positions to manage the extreme pains of labor and

childbirth. This can, in turn, decrease the flow of oxygen to the fetus, endangering the health of

both the mother and the unborn child.

                    26.      Shackling women during labor can lead to bruising from leg and abdomen

restraints. Leg restraints can also cause severe cuts on women’s ankles because of the strains

associated with childbirth.6

                    27.      When restraints are used during labor, doctors are limited in how they can

manipulate the mother’s body for the safety of the unborn child.

                    28.      During the final stages of labor, it is particularly important for the


3
 Amanda Glenn, Shackling Women During Labor: A Closer Look at the Inhumane Practice Still Occurring in Our
Prisons, 29 HASTINGS WOMEN’S L.J, 199, 202 (2018).
4
 ACLU Reproductive Freedom Project & ACLU National Prison Project, ACLU Briefing Paper: The Shackling of
Pregnant Women & Girls in U.S. Prisons, Jails & Youth Detention Centers 3 (2012),
https://www.aclu.org/files/assets/anti-shackling_briefing_paper_stand_alone.pdf (hereafter, “ACLU Briefing
Paper”).
5
    See Glenn, supra, n.3.
6
    ACLU Briefing Paper at 3.



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physician to act quickly to avoid potentially life-threatening emergencies for both the mother and

the unborn child. Shackles severely limit physicians’ abilities to provide such emergency care,

threatening maternal and fetal health.7

                   29.     Using restraints after delivery may prevent mothers from effectively

healing and breast-feeding. It also puts new mothers at “substantial risk of thromboembolic

disease and postpartum hemorrhage.”8

                   30.     In addition to posing serious health risks to a mother and baby, shackling

is almost never justified for security reasons.

                   31.     Among the states that have restricted the shackling of pregnant prisoners,

none have documented instances of women in labor escaping or causing harm to themselves, the

public, security guards, or medical staff.9 Since New York City jails restricted the use of

restraints on inmates admitted for delivery in 1990, there have been no reported incidents of

escape or harm to medical staff.10

                   32.     In 2011, the United States Department of Justice convened a task force to

address the use of restraints on pregnant women in custody. Its 2014 final report concluded that

“[t]he use of restraints on pregnant women and girls under correctional custody should be limited

to absolute necessity . . . when there is an imminent risk of escape or harm . . . . and these risks




7
 AMNESTY INT’L, ABUSE OF WOMEN IN CUSTODY: SEXUAL MISCONDUCT AND THE SHACKLING OF PREGNANT
WOMEN 23 (2001).
8
 UNIV. OF CHICAGO L. SCH. – INT’L HUMAN RIGHTS CLINIC, THE SHACKLING OF INCARCERATED PREGNANT
WOMEN: A HUMAN RIGHTS VIOLATION COMMITTED REGULARLY IN THE UNITED STATES 6 (2014),
https://chicagounbound.uchicago.edu/cgi/viewcontent.cgi?article=1008&context=ihrc.
9
    ACLU Briefing Paper at 5.
10
     Id.



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cannot be managed by other reasonable means . . . .”11

                    33.     In 2008, the Federal Bureau of Prisons mandated that restraints not be

used on women during labor, delivery, or post-delivery recuperation absent compelling

circumstances.12

                    34.     Given the myriad complications that can result from the shackling of

pregnant women, 22 states and the District of Columbia have adopted laws banning or severely

limiting the use of any form of restraints on pregnant women.13

                    35.     New York was part of this movement; in 2009, the state legislature passed

the Anti-Shackling Law, which banned the shackling of pregnant women during labor and

childbirth. See N.Y. Corr. Law § 611 (2009).

                    36.     In 2015, the New York state legislature amended the Anti-Shackling Law

to bar the use of any form of restraints on women during any stage of pregnancy, labor, or an

eight-week post-partum recovery period. The statute permits “wrist restraints” shackling only in

the most “extraordinary” circumstances for a pregnant woman, and it prohibits all restraints

“when such woman is in labor, admitted to a hospital, institution or clinic for delivery, or

recovering after giving birth.” N.Y. Corr. Law § 611(1(a)-(b).

B.         The City is Sued in 2016 For Shackling a Pregnant Woman

                    37.     On July 25, 2015, NYPD officers in the Bronx arrested a woman who was

35 weeks pregnant at the time. NYPD officers transported her to the hospital when she


11
  NAT’L TASK FORCE ON THE USE OF RESTRAINTS WITH PREGNANT WOMEN UNDER CORRECTIONAL CUSTODY, BEST
PRACTICES IN THE USE OF RESTRAINTS WITH PREGNANT WOMEN AND GIRLS UNDER CORRECTIONAL CUSTODY 6
(2014); see also United States Marshal Service, Policy 9.1 (Restraining Devices), § (D)(3)(e),(h).
12
     Fed. Bureau of Prisons, Escorted Trips §570.45(9)
13
  Ginnette G. Ferszt, Michelle Palmer, & Christine McGrane, Commentary: Where Does Your State Stand on
Shackling of Pregnant Incarcerated Women?, 22 Nursing for Women’s Health J. 17, 18 (2018).



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experienced a medical crisis, and then kept the woman in shackles for 72 hours while she was

hospitalized.

                38.    On September 28, 2016, the woman sued the City and several Bronx

NYPD officers for violations of her constitutional rights. See Index No. 303220/16. The City

settled her suit on May 30, 2017.

C.     Defendants Arrest and Handcuff Plaintiff When She is 40 Weeks Pregnant

                39.    Plaintiff Jane Doe is a twenty-seven-year-old woman. She was born,

raised, and graduated from high school in the Bronx, where she still lives with her family. She

identifies as African-American, Latina, and East Indian.

                40.    On February 7, 2018, Ms. Doe was nine months pregnant, due to deliver

her baby on February 9, 2018.

                41.    In the months leading up to her due date, Ms. Doe had received prenatal

care from her obstetrician at Bronx Lebanon Hospital. Ms. Doe planned to deliver her baby at

that hospital under her obstetrician’s care, with her partner at her side.

                42.    On the morning of February 7, 2018, Ms. Doe appeared at Bronx County

Family Court for a hearing at 9:00 a.m.

                43.    After the hearing, Ms. Doe exited the courtroom and sat on a bench in the

public corridor to wait for paperwork related to her appearance. Numerous other people were in

the public corridor, including Ms. Doe’s attorney.

                44.    At approximately 9:50 a.m., Officer Katherine Paez and Officers John

Does #1-5 appeared in the public corridor of the courthouse.

                45.    Officer Paez and Officers John Doe #1-5 demanded that Ms. Doe stand

up. Ms. Doe complied.

                46.    In front of Ms. Doe’s lawyer and all others present, Officer Paez informed
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Ms. Doe that she was under arrest.

                47.    At no point did Ms. Doe resist the Officers or refuse their commands in

any way.

                48.    Although Ms. Doe was visibly in a late stage of pregnancy, Officer Paez

and Officers John Doe #1-5 placed her in handcuffs and escorted her out of the courthouse.

                49.    Officer Paez and Officers John Doe #1-5 knew that Ms. Doe was pregnant

at the time they handcuffed her.

                50.    Officer Paez noted that Ms. Doe was nine months pregnant in her arrest

log.

                51.    Ms. Doe was taken in a police vehicle to the NYPD’s 47th Precinct, still in

handcuffs.

                52.    At no time prior to her arrest did the NYPD contact Ms. Doe or her lawyer

and ask that she surrender herself.

                53.    When she was arrived at the 47th Precinct at approximately 10:40 a.m.,

Ms. Doe’s handcuffs were removed and she was placed in a holding cell. At some point

thereafter, the shift at the 47th Precinct changed.

D.     Defendants Confine and Handcuff Ms. Doe For Many Hours, While She is
       Experiencing Contractions, and Disregard Warnings from Medical Personnel

                54.    On February 7, 2018 at approximately 7:40 p.m., Ms. Doe began to

experience labor contractions. She sought medical assistance from the officers at the 47th

Precinct. Officers “John” Swift and John Doe #6 were assigned to transport Ms. Doe to the

hospital.

                55.    At no point between 10:40 a.m. and 7:40 p.m. was Ms. Doe given or

offered any food or water.


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               56.     Officers Swift and John Doe #6 placed Ms. Doe back in handcuffs and

transported her to Montefiore Medical Center’s Wakefield Campus, where they arrived at

approximately 7:50 p.m.

               57.     Officers Swift and John Doe #6 knew that Ms. Doe was pregnant at the

time they handcuffed her.

               58.     Officer Swift completed a Medical Treatment Form that evening,

indicating in all capital letters that Ms. Doe was “NINE MONTHS PREGNANT.”

               59.     At Montefiore Medical Center, medical personnel told Officers Swift and

John Doe #6 that the use of restraints on the very-pregnant Ms. Doe was dangerous to both Ms.

Doe and her baby. Medical staff asked Officers Swift and John Doe #6 to remove Ms. Doe’s

handcuffs.

               60.     Officers Swift and John Doe #6 refused to remove the handcuffs, citing an

unspecified “policy” in the NYPD Patrol Guide and claiming they were following “procedure.”

               61.     Medical staff also noted with concern that Ms. Doe had not been given

any food as of 9:10 p.m. Staff hurried to find her a cheese sandwich and some juice to ensure

that her blood sugar levels did not drop after nearly 12 hours without anything to eat.

               62.     Ms. Doe’s contractions turned out to be Braxton-Hicks contractions, the

contractions that occur before real labor. She was discharged from the hospital at 9:25 pm.

               63.     Ms. Doe was taken, still in handcuffs, back to the 47th Precinct. Upon

arrival, her handcuffs were removed, and she was placed back in a holding cell for several hours.

Once again, during this period, the shift at the 47th Precinct changed.

E.     Defendants Transport Ms. Doe to and from Central Booking in Handcuffs

               64.     Shortly after midnight on February 8, 2018, Officers John Doe #7-8



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placed handcuffs on Ms. Doe and transported her to NYPD Central Booking in the Bronx.

                 65.   Officers John Doe #7-8 knew that Ms. Doe was pregnant.

                 66.   During the transport, other detainees in the van complained to Officers

John Doe #7-8 that Ms. Doe’s treatment was inappropriate, given her pregnancy.

                 67.   At Central Booking, NYPD staff informed Officers John Doe #7-8 that

Ms. Doe could not be processed, given her pregnancy, stating in sum and substance that Central

Booking medical staff did not know how to deliver a baby and that Ms. Doe did not belong there.

                 68.   Officers John Doe #7-8 brought Ms. Doe back to the 47th Precinct. During

this entire period, Ms. Doe remained in handcuffs.

                 69.   Upon arrival at the 47th Precinct, Ms. Doe’s handcuffs were removed, and

she was placed back in her holding cell.

                 70.   During this entire period, the Officers did not provide Ms. Doe with any

food or water.

F.     Defendants Transport Ms. Doe Back to the Hospital and Shackle Her Throughout
       Her Labor, Against the Express Directions of Medical Personnel

                 71.   A few hours later, at approximately 5:00 a.m., Ms. Doe went into labor

and began experiencing strong contractions. She sought medical attention from the officers at the

47th Precinct.

                 72.   Officers John Doe #7-8 placed Ms. Doe in handcuffs and transported her

to Montefiore Medical Center.

                 73.   Upon arrival at Montefiore Medical Center, Officers John Doe #7-8

procured a wheelchair to bring Ms. Doe from the vehicle into the emergency room.

                 74.   After placing Ms. Doe in the wheelchair, Officers John Doe #7-8 placed

heavy shackles on her feet, binding her legs together at her ankles.


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               75.     Once again, medical staff at Montefiore Medical Center advised Officers

John Doe #7-8 of the dangers of shackling and handcuffing a woman in labor. Ms. Doe’s doctors

told the officers that they were putting her life and the baby’s life in jeopardy by continuing the

use of restraints. Medical staff demanded that Officers John Doe #7-8 remove all restraints from

Ms. Doe.

               76.     Officers John Doe #7-8 refused, asserting that they were “following

procedure.”

               77.     Officers John Doe #7-8 briefly removed Ms. Doe’s shackles to allow her

to change into a hospital gown, then immediately reapplied the shackles to both her hands and

her ankles.

               78.     As Ms. Doe continued to labor, a growing number of medical staff at

Montefiore demanded that Officers John Doe #7-8 remove the restraints for the safety of Ms.

Doe and her child.

               79.     Officers John Doe #7-8 refused to remove the restraints until just a few

minutes before Ms. Doe delivered her daughter at 6:14 a.m.

               80.     Approximately ten minutes before Ms. Doe delivered her daughter,

Officer John Doe #7 entered the birthing room, unshackled Ms. Doe’s ankles, and partially

uncuffed Ms. Doe’s hands. He kept one of Ms. Doe’s hands shackled to the hospital bed.

               81.     During labor and delivery, Ms. Doe was physically exhausted and drained

from the hours in police custody, in shackles, without adequate food or sleep. She struggled to

summon her energy for the delivery.

               82.     While delivering her baby, Ms. Doe heard doctors express concern that the

baby was in some distress, which she feared was a result of her shackling.



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               83.     After delivering her child, Ms. Doe experienced heavy bleeding, and

overheard the doctors express concern about it.

               84.     Ms. Doe gave birth alone with strangers; she was denied the presence of

her partner and obstetrician during her labor and delivery.

G.     Ms. Doe is Shackled to Her Hospital Bed Immediately After Delivery

               85.     Shortly after Ms. Doe gave birth to her daughter, Officer “John” Castillo

and Officer John Doe #9 placed shackles on her once again, chaining her feet together.

               86.     Officers Castillo and John Doe #9 were aware that Ms. Doe had just given

birth to her baby at the time they applied shackles to her feet.

               87.     Ms. Doe was kept shackled to her bed even after her daughter was

checked and returned to her, limiting her ability to hold and tend to her newborn child. She

struggled to feed her daughter using just one arm.

               88.     Medical professionals repeatedly asked Officers Castillo and John Doe #9

to remove the shackles, citing Ms. Doe’s need to care for her baby, use the restroom, and

otherwise manage her postpartum recovery, and the health risks to Ms. Doe. The officers insisted

that Ms. Doe remain shackled while in bed.

               89.     Medical records confirm that Ms. Doe was shackled post-partum, stating

in a note at 11:43 a.m.: “Can ask NYPD officer for assistance with feet shackles for voiding oob

[out of bed] to restroom but to be replaced while in bed according to officers.”

               90.     Officers John Doe #9-10 briefly unshackled Ms. Doe to allow her to feed

her daughter at approximately 11:43 a.m., then promptly reshackled her to the bed.

               91.     At approximately 11:57 a.m., medical professionals informed Officer

“John” Stalikas that the shackling of pregnant women violates state law.



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                92.     Medical records reflect that Officer Stalikas responded that the NYPD

Patrol Guide “requires all patients in custody to be cuffed or restrained in some manner” and

supersedes state law to the contrary.

                93.     Officer Stalikas then called the Sergeant on duty, Sergeant “John” Coca,

to confirm that the NYPD Patrol Guide required Ms. Doe to be shackled.

                94.     Sergeant Coca agreed that Ms. Doe had to be shackled, and he directed

Officer Stalikas to continue the use of restraints on Ms. Doe.

                95.     The handcuffs and shackles were not removed until approximately 3:00

p.m., when Ms. Doe was arraigned by video conference.

                96.     When her criminal defense attorney arrived to represent her at the video

arraignment, Ms. Doe learned that her arrest was for a misdemeanor criminal charge brought by

an ex-partner, stemming from an argument between them at a store in September 2017.

                97.     At every point in her contact with the Defendant Officers, Ms. Doe was

cooperative, calm, and compliant.

                98.     Between the time of her arrest and her arraignment, Ms. Doe never posed

any risk of injury to herself or others, or any risk of flight or escape.

                99.     Ms. Doe suffered physical pain, discomfort, trauma, and severe emotional

distress as a result of this incident. She has nightmares about being shackled and losing her baby.

She fears future encounters with police. She struggles with anxiety and panic about the incident.

                100.    Within ninety days of the events described herein, Ms. Doe served a

written notice of claim upon the City by personal delivery of notice, in duplicate, to the

Comptroller’s office at 1 Centre Street, New York, New York.

                101.    A hearing on this notice was held pursuant to General Municipal Law §



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50-h on October 16, 2018.

                102.    This action has been commenced within one year of Ms. Doe’s shackling

on February 7, 2018.

                                 FIRST CAUSE OF ACTION
                    42 U.S.C. § 1983 – Fourth and Fourteenth Amendments
  Deliberate Indifference to Serious Medical Needs/Substantive Due Process/Excessive Force
                                (Against All Defendant Officers)

                103.    Plaintiff repeats and realleges the above paragraphs as if the same were

fully set forth at length herein.

                104.    At all relevant times, Defendant Officers were acting under color of state

law in their individual and official capacities within the scope of their respective employments as

police officers for the New York City Police Department.

                105.    At all relevant times, Plaintiff’s late-stage pregnancy, labor, delivery, and

post-partum recovery were serious medical needs.

                106.    At all relevant times, New York law expressly prohibited the use of any

form of restraints on a pregnant woman in labor, in the hospital, or on a woman who has recently

given birth.

                107.    At all relevant times, Plaintiff was either nine months pregnant, in labor,

or had just given birth.

                108.    At all relevant times, there was no medical, legal, security, or other need

to use restraints on Plaintiff.

                109.    At all relevant times, medical and correctional experts agreed that the use

of shackles on a pregnant woman during transport, labor, delivery or recovery creates significant

risk and danger to both the woman and the child.

                110.    By shackling Plaintiff, approving of such restraints, and/or failing to

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intervene to prevent the use of such restraints over the course of her arrest and transport,

Defendant Officers placed Plaintiff and her unborn and then-infant child at serious risk for

potentially life-threatening complications and were deliberately indifferent to Plaintiff’s serious

medical needs.

                 111.   By shackling Plaintiff, approving of such restraints, and/or failing to

intervene to prevent the use of such restraints over the course of her arrest and transport,

Defendant Officers engaged in outrageous and conscience-shocking conduct.

                 112.   By shackling Plaintiff, approving of such restraints, and/or failing to

intervene to prevent the use of such restraints over the course of her arrest and transport,

Defendant Officers used excessive, brutal, sadistic and unconscionable force on Plaintiff.

                 113.   Defendants acted beyond the scope of their authority and jurisdiction to

willfully, knowingly, and intentionally deprive Plaintiff of her constitutional rights secured by 42

U.S.C. § 1983 including, but not limited to, rights guaranteed by the Fourth and Fourteenth

Amendments

                 114.   As a direct and proximate result of Defendant Officers’ misconduct

detailed above, Plaintiff sustained the damages hereinbefore alleged.

                               SECOND CAUSE OF ACTION
                    42 U.S.C. § 1983 – Fourth and Fourteenth Amendments
  Deliberate Indifference to Serious Medical Needs/Substantive Due Process/Excessive Force
                                    (Against Defendant City)

                 115.   Plaintiff repeats and realleges the above paragraphs as if the same were

fully set forth at length herein.

                 116.   In the course of shackling Plaintiff, Defendant Officers cited to a “policy”

or “procedure” which they were following. Defendant Officers told medical professionals that

they were required to use restraints by this “policy” or “procedure.”


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               117.     Defendant City, through its policymakers within the NYPD, explicitly or

tacitly approved the unconstitutional practice described above. In maintaining the “policy” or

“procedure” regarding the use of restraints on pregnant women, the City was deliberately

indifferent to the constitutional rights of pregnant women generally, and Plaintiff specifically.

               118.     Defendant City was aware of and deliberately indifferent to the fact that its

“policy” or “procedure” would result in the deprivation of Plaintiff’s and others’ constitutional

rights. At all relevant times, Defendant City was aware that the use of shackles on pregnant

women is proscribed by state statute.

               119.     Defendant Officers acted consistently with and pursuant to the “policy” or

“procedure” when they engaged in the conduct set forth above.

               120.     Alternatively, Defendant City failed to adequately train Defendant

Officers on the legal proscription against shackling pregnant women, women in labor, or women

who have just given birth.

               121.     Defendant City’s failure to train Defendant Officers directly caused

Defendant Officers to shackle Ms. Doe and express the belief that the NYPD Patrol Guide

supersedes state law.

               122.     Defendant City was deliberately indifferent to the need for such training,

as evidenced in part by a prior lawsuit about Bronx police officers’ unconstitutional shackling of

a pregnant woman, and by the numerous Defendant Officers who believed the shackling of Ms.

Doe was justified.

               123.     Defendant City, acting under color of state law, violated Plaintiff’s rights

under the Fourth and Fourteenth Amendment to the United States Constitution.

               124.     As a direct and proximate result of Defendant City’s “policy” or



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“procedure,” or as a result of Defendant City’s failure to train its officers, Plaintiff sustained the

damages hereinbefore alleged.

                                      THIRD CAUSE OF ACTION
                                      New York Correction Law § 611
                                        Unlawful Use of Restraints
                                         (Against All Defendants)

                125.    Plaintiff repeats and realleges the above paragraphs as if the same were

fully set forth at length herein.

                126.    At all relevant times, Defendant Officers knew that Plaintiff was pregnant,

in labor, admitted to a hospital for delivery, within eight weeks of giving birth, or recovering

after giving birth to her daughter.

                127.    At all relevant times, Plaintiff was “confined” in an institution as

described in the New York Correction Law § 611.

                128.    At all relevant times, Defendant Officers used restraints on Plaintiff while

she was transported to different locations, while she was in labor, while she was admitted to the

hospital for delivery and while she was recovering from giving birth.

                129.    At no point did Plaintiff pose any risk of flight or of any injury to anyone.

                130.    Defendant Officers acted under pretense and color of state law. Defendant

Officers acted beyond the scope of their authority and jurisdiction to willfully, knowingly, and

intentionally deprive Plaintiff of her statutory rights.

                131.    As a direct and proximate result of Defendant Officers’ misconduct and

abuse detailed above, Plaintiff sustained the damages hereinbefore alleged.

                                    FOURTH CAUSE OF ACTION
                                               Assault
                                       (Against All Defendants)

                132.    Plaintiff repeats and realleges the above paragraphs as if the same were


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fully set forth at length herein.

                 133.   By reason of the foregoing, and by threateningly approaching Plaintiff and

aiming to unlawfully apply restraints to her, Defendant Officers, acting in their capacity as an

NYPD officers and within the scope of their employment as such, intentionally placed Plaintiff

in apprehension of imminent offensive contact and displayed the ability to effectuate such

contact, and thereby committed a willful, unlawful, unwarranted, and intentional assault upon

Plaintiff.

                 134.   The assault committed by Defendant Officers was unnecessary and

unwarranted in the performance of their duties as NYPD officers and constituted an

unreasonable use of restraints.

                 135.   Defendant City, as employer of Defendant Officers, is responsible for

Defendant Officers’ wrongdoing under the doctrine of respondeat superior.

                 136.   As a direct and proximate result of Defendant Officers’ misconduct and

abuse detailed above, Plaintiff sustained the damages hereinbefore alleged.

                                    FIFTH CAUSE OF ACTION
                                               Battery
                                      (Against All Defendants)

                 137.   Plaintiff repeats and realleges the above paragraphs as if the same were

fully set forth at length herein.

                 138.   By reason of the foregoing, and by restraining Plaintiff’s hands and legs,

Defendant Officers, acting in their capacity as NYPD officers and within the scope of their

employment as such, committed a willful, unlawful, unwarranted, and intentional battery upon

Plaintiff.

                 139.   The battery committed by Defendant Officers was unnecessary and

unwarranted in the performance of their duties as NYPD officers and constituted an
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unreasonable use of restraints.

                 140.   Defendant City, as employer of Defendant Officers, is responsible for

Defendant Officers’ wrongdoing under the doctrine of respondeat superior.

                 141.   As a direct and proximate result of the misconduct and abuse of authority

detailed above, Plaintiff sustained the damages hereinbefore alleged.

                                   SIXTH CAUSE OF ACTION
                             Intentional Infliction of Emotional Distress
                                      (Against All Defendants)

                 142.   Plaintiff repeats and realleges the above paragraphs as if the same were

fully set forth at length herein.

                 143.   Defendant Officers engaged in extreme and outrageous conduct in

applying restraints to Plaintiff’s arms and legs notwithstanding the fact of her pregnancy.

                 144.   In shackling Plaintiff, Defendant Officers ignored the clear risk of harm to

Plaintiff and her daughter, and they ignored the express warnings of numerous medical

professionals.

                 145.   Defendant Officers intended to cause Plaintiff severe emotional distress,

or disregarded the substantial likelihood that their use of restraints would cause Plaintiff such

distress.

                 146.   As a direct and proximate result of the misconduct and abuse of authority

detailed above, Plaintiff sustained the damages hereinbefore alleged, including but not limited to

severe emotional distress.

                 147.   Defendant City, as employer of Defendant Officers, is responsible for

Defendant Officers’ wrongdoing under the doctrine of respondeat superior.




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                                    SEVENTH CAUSE OF ACTION
                                    New York City Human Rights Law
                                        (Against All Defendants)

                148.     Plaintiff repeats and realleges the above paragraphs as if the same were

fully set forth at length herein.

                149.     Defendants engaged in unlawful discrimination against Plaintiff because

of her gender in violation of N.Y.C. Admin. Code § 8-107(1).

                150.     Defendants engaged in unlawful discrimination against Plaintiff because

of her pregnancy in violation of N.Y.C. Admin. Code §§ 8-107(1) and 8-107(22).

                151.     As a result of Defendants’ discrimination against Plaintiff on the basis of

her gender and pregnancy, Plaintiff is entitled to compensatory damages and to attorneys’ fees

and costs under N.Y.C. Admin. Code § 8-120(a).

                152.     Defendants’ actions in violation of the New York City Human Rights Law

were intentional, with malice, and/or showed deliberate, willful, wanton, and reckless

indifference to Plaintiff’s civil rights, for which she is entitled to an award of punitive damages.

                153.     Plaintiff has not filed any other civil or administrative action alleging an

unlawful discriminatory practice with respect to the allegations of discrimination which are the

subject of this Complaint.

                WHEREFORE, Plaintiff respectfully requests judgment against Defendants as

follows:

            a. Compensatory damages against all Defendants in an amount to be determined at

                trial;

            b. Punitive damages against Defendant Officers in an amount to be determined at

                trial;



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         c. A declaration that the NYPD’s policy or custom of shackling pregnant arrestees

            during transportation, labor, delivery, or recovery violates the United States

            Constitution and New York State law;

         d. Injunctive relief against the City of New York, including but not limited to

            ordering the NYPD to issue policies, training, and procedures prohibiting the

            shackling of pregnant women during transportation, labor, delivery and

            postpartum recuperation;

         e. Reasonable attorneys’ fees and costs under 42 U.S.C. § 1988 and N.Y.C. Admin.

            Code § 8-120(a); and

         f. Such other and further relief as this Court may deem just and proper.

Dated: New York, New York
       December 6, 2018
                                                  EMERY CELLI BRINCKERHOFF
                                                  & ABADY LLP

                                                  By:             /s/

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                                                        Attorneys for Plaintiff Jane Doe




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